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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 ABERDEEN DIVISION


YOLANDA RANDLE                                                                         PLAINTIFF

VS.                                                              CIVIL NO. 1:20-CV-79-SA-DAS

COMMISSIONER OF SOCIAL SECURITY                                                    DEFENDANTS


                  ORDER ADOPTING REPORT AND RECOMMENDATION

        On consideration of the file and records in this action, the court finds that the Report and

Recommendation of the United States Magistrate Judge dated February 16, 2021, was on that date

duly served upon the parties; that more than fourteen days have elapsed since service of said Report

and Recommendation; and that no objection thereto has been filed or served by either party. The

court is of the opinion that the Report and Recommendation should be approved and adopted as

the opinion of the court. It is, therefore, ordered:

        1. That the Report and Recommendation of the United States Magistrate Judge dated

February 26, 2021, be, and it is hereby, approved and adopted, and that the proposed findings of

fact and conclusions of law are hereby, adopted as the findings of fact and conclusions of law of

the Court.

        2. The decision of the Commissioner is reversed and the case is remanded to the agency

for further proceedings in accordance with the Report and Recommendation.

        3. This case is closed.

        SO ORDERED, this the 8th day of June, 2021.

                                                       /s/ Sharion Aycock
                                                       UNITED STATES DISTRICT JUDGE
